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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
)
Plaintiff, )
) Civil Action No, 16-cv-11152
vs. )
)
KELLY SERVICES, INC, ) Judge Marvin Aspen
)
Defendant. )

STIPULATION REGARDING THE PLAINTIFF’S MOTIONS IN LIMINE

The above captioned parties, through their respective counsel or record do hereby agree
and stipulate as follows as to the Plaintiff's Motions in Limine set forth under Schedule J of the
Final Pre-Trial Order:
Plaintiff's Motion in Limine #1:

Plaintiff's motion to require the Defendant Kelly Services to designate a specific
corporate representative who will attend the trial, if it wants such a representative
present.

Stipulated and agreed to between the Parties.

Plaintiff's Motion in Limine #2:

Plaintiff's Motion to exclude witnesses other than the Plaintiff and the designated
corporate representative of Kelly Services, if any, from the courtroom during trial. FRE
614(a)

Stipulated and agreed to between the Parties.
Plaintiff's Motion in Limine #3:
Plaintiff's Motion to bar any comment, testimony, atgument or evidence that Plaintiff has
a contingency fee arrangement with her attorneys and that the prevailing party is entitled
to recover attorneys’ fees because it is prejudicial, will confuse the issue of damages, and
invade the authority of the Court to decide the attorney fee issue, FRE 403.
Stipulated and agreed to between the Parties.

Plaintiff's Motion in Limine #4:
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Plaintiff's Motion to bar any non-public document not previously produced during
discovery in response to a discovery request. Fed.R.Civ.P. 26 and 37

Stipulated and agreed to between the Parties,

Plaintiff's Motion in Limine #5:
Plaintiff's motion to bar comment, testimony, argument or evidence of any other actions,
including administrative proceeds, brought by the Plaintiff against any other person or
entity, including, but not limited to the lawsuit entitled Brown v. Marquette Management,
Inc et al, Case no. 15-cv-03073 (USDC, ND ILL) on the basis that such testimony is
irrelevant and highly prejudicial to the Plaintiff.
Stipulated and agreed to between the Parties.

Plaintiff’s Motion in Limine #6:
Plaintiff's Motion to bar undisclosed witnesses. Fed.R.Civ.P. 26 and 37; FRE 403

Stipulated and agreed to between the Parties

  

 

BRENDA BROWN KELLY SERVICES, INC
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